Case 1:18-cv-00463-LPS Document 125-1 Filed 09/05/18 Page 1 of 7 PageID #: 2183




                      Exhibit A
     Case 1:18-cv-00463-LPS Document 125-1 Filed 09/05/18 Page 2 of 7 PageID #: 2184




     ®

MM
                                             MiSw
                                                                                  MM

                                                                                                  Ml
                                                            M


                                                                                                                l



                                                                                            ~    ..

                                                                  4, -
                                                                                                            j
                                                                      ' /
                                                                            rir
                                                                                            **g+ 1
                                                                                            K^HhP111\
                                                                                                      .X




                                                          -'& '
                                                          ~r-
                                                         .-: <

         Ml      MMMMMMIHI               MM                *


                      ll ll R HI
                      «                                           gifl
                                                                                           £ *
                                                                 31




                                                                            M
                                                                                           MHi
r                                                                           ^v.*"- - > -; :-r^|
                                                    t€                                 J                   *~ .
                                                                                   g—                 S*1fc




                                         1                 r


                                    *<               w




\
i


                             American Intellectual Property Law Association
                             1400 Crystal Drive, Suite 600
                             Arlington, Virginia 22202
!.
                             www.aipla.org
                         Case 1:18-cv-00463-LPS Document 125-1 Filed 09/05/18 Page 3 of 7 PageID #: 2185

                                Total Costs: Litigation-Patent Infringement, All Varieties by Type of Practice


Litigation-Patent Infringement, All Varieties <$1M Initial case management (000s) by Type of Practice (Q36Aa)

                                                              4-15               16-59          60 or more
                            Total          1-3 Attorneys   Attorneys           Attorneys         Attorneys    All Corporate
 Number of Respondents               109              18               27                  27            28               7
 Mean (Average)                     $41              $35           $41                 $39              $49             $24
 10th Percentile 10%                $10              $10               $5              $10              $15             ISD
 First Quartile 25%                 $15              $14           $10                 $20              $30             $10
 Median (Midpoint)                   $25             $23           $20                 $25              $50             $10
 Third Quartile 75%                 $50              $43           $50                 $50              $SO             $40
 90th Percentile 90%            $100                $103         $150                $100              $100             ISD


Litigation-Patent Infringement, All Varieties <$1M Inclusive of discovery, motions, and claim construction (000s) by Type of Practice (Q36Ab)

                                                              4-15               16-59          60 or more
                            Total          1-3 Attorneys   Attorneys           Attorneys        Attorneys     All Corporate
 Number of Respondents               104              18               28                  25            27               5
 Mean (Average)                 $306               $233          $285                $289              $418            $168
 10th Percentile 10%                 $81             $43           $59               $100              $100             ISD
 First Quartile 25%                 $150            $120         $105                $213              $250             $70
 Median (Midpoint)              $250                $200         $238                $250              $400            $150
 Third Quartile 75%             $400                $325         $438                $380              $500            $275
 90th Percentile 90%            $525                $550         $565                $470              $800             ISD


Litigation-Patent Infringement, All Varieties <$1M Inclusive of pre-trial, trial, post-trial, and appeal (when applicable) (000s) by Type of Practice (Q36Ac)

                                                              4-15               16-59          60 or more
                            Total          1-3 Attorneys   Attorneys           Attorneys        Attorneys     All Corporate
 Number of Respondents               101              16               26                  26            27               5
 Mean (Average)                     $627            $472         $583                $574              $754            $990
 10th Percentile 10%            $130                $107         $118                $170              $100             ISD
 First Quartile 25%             $300                $270         $238                $325              $400            $275
 Median (Midpoint)              $500               $450          $400                $500              $650            $650
 Third Quartile 75%             $850               $613          $863                $656            $1,200          $1,875
 90th Percentile 90%          $1,240              $1,000        $1,500               $895            $1,340             ISD




                                                                            AIPLA Report of the Economic Survey 2017
                                                                                                1-118
                           Case 1:18-cv-00463-LPS Document 125-1 Filed 09/05/18 Page 4 of 7 PageID #: 2186
                               Total Costs: Litigation-Patent                       Infringement,                All Varieties by Type of Practice

Litigation-Patent Infringement, All Varieties <$1M Cost of mediation (000s) by Type of Practice (Q36Ad)

                                                             4-15                16-59          60 or more
                           Total          1-3 Attorneys   Attorneys            Attorneys         Attorneys         All Corporate
 Number of Respondents               91              16               24                   23               24                     3
 Mean (Average)                     $50             $78           $41                  $39                 $43              $120
 10th Percentile 10%                $10             $12               $6               $10                $15                 ISD
 First Quartile 2S%                 $15             $16           $10                  $10                $21                ISD
 Median (Midpoint)                  $25             $25           $25                  $25                $30                $50
 Third Quartile 75%                 $50            $105           $58                  $50                $SO                ISD
 90th Percentile 90%               $116            $315          $110                  $75                $88                 ISD


Litigation-Patent Infringement, All Varieties $1-$10M Initial case management (000s) by Type of Practice (Q36Ae)

                                                             4-15               16-59           60 or more
                           Total          1-3 Attorneys   Attorneys           Attorneys         Attorneys          All Corporate
 Number of Respondents              109              17               25                   26               30                11
 Mean (Average)                     $81             $52           $63                  $64               $111               $126
 10th Percentile 10%                $15             $10               $8               $25                $25                $15
 First Quartile 25%                 $29             $20           $18                  $30                $60                $25
 Median (Midpoint)                  $60             $40           $40                  $50                $75                $60
 Third Quartile 75%                $100             $78           $88                  $85               $150               $150
 90th Percentile 90%               $150           $115           $200                $129                $250               $530



Litigation-Patent Infringement, All Varieties $1-$10M Inclusive of discovery, motions, and claim construction (000s) by Type of Practice (Q36Af)

                                                             4-15               16-59           60 or more
                           Total          1-3 Attorneys   Attorneys           Attorneys         Attorneys          All Corporate
 Number of Respondents              103              17               25                   25               27                 9
 Mean (Average)                    $702            $487          $483                $817                $921               $741
 10th Percentile 10%               $150            $100          $100                $228                $260                ISD
 First Quartile 25%            $300               $243           $225                $375                $500               $200
 Median (Midpoint)             $550               $350          $450                 $550                $750               $750
 Third Quartile 75%            $800               $675           $600                $825               $1,300            $1,200
 90th Percentile 90%          $1,500             $1,340        $1,140               $2,520              $1,680               ISD




                                                                           AIPLA Report of the Economic Survey 2017
                                                                                              1-119
                          Case 1:18-cv-00463-LPS Document 125-1 Filed 09/05/18 Page 5 of 7 PageID #: 2187
                             Total Costs: UtigationwPatent Infringement, All Varieties by Type of Practice

Litigation-Patent Infringement, All Varieties $1-$10M Inclusive of pre-trial, trial, post-trial, and appeal (when applicable) (000s) by Type of Practice (Q36Ag)

                                                                                             16-59                60 or more
                               Total           1-3 Attorneys      4-15 Attorneys           Attorneys              Attorneys          AllCorporate
 Number of Respondents                 103                   17                    25                    24                     28                  9
 Mean (Average)                     $1,456               $938                  $990                 $1,429                  $1,936             $2,311
 10th Percentile 10%                 $300                $229                  $260                  $375                    $380                 ISD

 First Quartile 25%                  $500               $498                   $400                  $550                    $925              $1,000
 Median {Midpoint)                  $1,000               $800                  $750                 $1,000                  $1,875             $1,500
 Third Quartile 75%                 $2,000             $1,150                 $1,400                $1,575                  $2,875             $3,750
 90th Percentile 90%                $3,060             $2,100                 $2,360                $3,700                  $3,175                ISD


Litigation-Patent Infringement, All Varieties $1-$10M Cost of mediation (000s) by Type of Practice (Q36Ah)

                                                                    4-15                  16-59               60 or more
                            Total            1-3 Attorneys        Attorneys             Attorneys              Attorneys       All Corporate
 Number of Respondents               87                 15                    22                    21                 25                  4
 Mean (Average)                     $82                $80              $101                   $55                    $82              $116
 10th Percentile 10%                $20               $16                $10                   $21                    $20                ISD
 First Quartile 25%                 $25                $25               $19                   $28                    $40                $26
 Median (Midpoint)                  $50               $40                $38                   $50                    $60                $48
 Third Quartile 75%             $100                 $100               $139                   $73                   $100               $275
 90th Percentile 90%            $200                 $270               $340                  $100                   $160                ISD


Litigation-Patent Infringement, All Varieties $10-$25M Initial case management (000s) by Type of Practice (Q36Ai)

                                                                    4-15                  16-59               60 or more
                            Total            1-3 Attorneys        Attorneys             Attorneys              Attorneys       AllCorporate
 Number of Respondents               95                 14                    18                    25                 26                 11
 Mean (Average)                 $122                  $77                $95                   $98                   $158               $184
 10th Percentile 10%                $20                $10               $10                   $26                    $20                $30
 First Quartile 25%                 $40               $35                $19                   $45                    $75                $50
 Median {Midpoint)              $100                   $SO               $43                  $100                   $113               $150
 Third Quartile 75%             $200                 $100               $200                  $100                   $213              $250
 90th Percentile 90%            $250                 $225               $255                  $220                   $325               $480




                                                                                   AIPLA Report of the Economic Survey 2017
                                                                                                      1-120
                              Total Costs:
                           Case 1:18-cv-00463-LPS Document 125-1 Filed 09/05/18 Page 6 of 7 PageID #: 2188

Litigation-Patent Infringement, All Varieties $10-$25M Inclusive of discovery, motions, and claim construction (000s) by Type of Practice (Q36Aj)

                                                                4-15               16-59           60 or more
                            Total          1-3 Attorneys     Attorneys           Attorneys         Attorneys           All Corporate
 Number of Respondents                94               14                18                  24                 26                   11
 Mean (Average)                $1,230               $798            $864              $1,288             $1,586               $1,391
 10th Percentile 10%                $300            $245                $98             $550              $370                  $400
 First Quartile 25%                 $525            $450            $338                $675              $750                $1,000
 Median (Midpoint)             $1,000               $500            $638              $1,000             $1,225               $1,200
 Third Quartile 75%            $1,550               $850          $1,500              $1,438             $2,000               $1,750
 90th Percentile 90%           $2,500             $2,500          $2,020              $3,250             $3,440               $2,700


Litigation-Patent Infringement, All Varieties $10-$25M Inclusive of pre-trial, trial, post-trial, and appeal (when applicable) (000s) by Type of Practice (Q36Ak)

                                                              4-15                16-59           60 or more
                            Total          1-3 Attorneys    Attorneys           Attorneys          Attorneys         All Corporate
 Number of Respondents               95               14                18                  24             28                   10
 Mean (Average)               $2,374             $1,568          $1,742             $2,383             $3,254               $2,245
 10th Percentile 10%            $500               $475           $280                $625               $495                $570
 First Quartile 25%           $1,000               $688           $575               $1,000            $1,338               $1,238
 Median (Midpoint)            $2,000             $1,100          $1,300             $1,750             $3,000               $2,250
 Third Quartile 75%           $3,500             $2,125          $2,813              $3,000            $4,844               $3,125
 90th Percentile 90%          $4,925             $4,000          $3,550             $5,875             $6,050               $3,950


Litigation-Patent Infringement, All Varieties $10-$25M Cost of mediation (000s) by Type of Practice (Q36AI)

                                                               4-15                16-59           60 or more
                            Total          1-3 Attorneys     Attorneys           Attorneys          Atto-rneys         All Corporate
 Number of Respondents                81               12                17                  21                 25                    5
 Mean (Average)                     $135            $107            $118                $133              $142                  $254
 10th Percentile 10%                 $25              $25               $12                 $28                $28                   ISD
 First Quartile 25%                  $40              $33               $15                 $50                $50               $35
 Median (Midpoint)                   $75              $65               $25                 $50                $75              $250
 Third Quartile 75%                 $150            $175           $200                 $100              $113                  $475
 90th Percentile 90%                $300            $300            $300                $430              $350                       ISD




                                                                              AIPLA Report of the Economic Survey 2017
                                                                                                 1-121
                          Case 1:18-cv-00463-LPS Document 125-1 Filed 09/05/18 Page 7 of 7 PageID #: 2189

                                Total Costs: Utigatim1~Patent Infringement, All Varieties by Type of Practice

Litigation-Patent Infringement, All Varieties >$25M Initial case management (000s) by Type of Practice (Q36Am)

                                                            4-15                16-59          60 or more
                            Total         1-3 Attorneys   Attorneys           Attorneys        Attorneys     AllCorporate
 Number of Respondents               86              11               18                  19            24             14
 Mean (Average)                 $209              $140          $117                $159              $224           $426
 10th Percentile 10%                $20             $13          $10                 $35               $33            $50
 First Quartile 25%                 $61             $40          $20                 $75              $100            $91
 Median (Midpoint)              $138              $100           $58                $150              $150           $250
 Third Quartile 75%             $250              $150          $200                $250              $250           $625
 90th Percentile 90%            $500              $470          $275                $350              $575         $1,250


Litigation-Patent Infringement, All Varieties >$25M Inclusive of discovery, motions, and claim construction (000s) by Type of Practice (Q36An)

                                                            4-15                16-59          60 or more
                            Total         1-3 Attorneys   Attorneys           Attorneys         Attorneys    AllCorporate
 Number of Respondents               83              11               18                  18            23             13
 Mean (Average)               $2,000              $983        $1,324               $2,100           $2,580         $2,635
 10th Percentile 10%            $446              $400          $145                $770              $380           $700
 First Quartile 25%             $750              $410          $650                $950              $950         $1,500
 Median (Midpoint)            $1,700              $600          $950               $1,850           $2,500         $2,250
 Third Quartile 75%           $3,000            $1,000        $2,100               $3,000           $3,500         $3,500
 90th Percentile 90%          $4,000            $3,200         $3,040              $5,000           $4,980         $5,600


Litigation-Patent Infringement, All Varieties >$25M Inclusive of pre-trial, trial, post-trial, and appeal (when applicable) (000s) by Type of Practice (Q36Ao)

                                                            4-15                16-59          60 or more
                            Total         1-3 Attorneys   Attorneys           Attorneys         Attorneys    AllCorporate
 Number of Respondents               86              11               18                  18            25             14
 Mean (Average)               $3,831            $2,434        $2,690               $3,886           $4,992         $4,254
 10th Percentile 10%            $535              $554          $465                $465              $500         $1,275
 First Quartile 25%           $1,500            $1,000        $1,088               $1,425           $1,750         $2,750
 Median (Midpoint)            $3,000            $1,500        $2,000               $2,750           $5,500         $3,750
 Third Quartile 75%           $5,850            $4,000        $4,250               $5,725           $6,750         $7,000
 90th Percentile 90%          $7,650            $6,000        $5,750               $7,800           $8,800         $8,000




                                                                           AIPLA Report of the Economic Survey 2017
                                                                                              1-122
